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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                LITTLE ROCK DIVISION



UNITED STATES OF AMERICA                                                                PLAINTIFF


VS.                            CIVIL ACTION NO. 4:01CR00190-04 SWW


SELETHER ANN STIGALL                                                                 DEFENDANT



                                   ORDER TO SHOW CAUSE

        The United States’ Motion to Show Cause as to why the Defendant should not be held in

contempt for failure to appear at the Judgment Debtor Examination scheduled December 8, 2009,

(docket entry #214) is granted.

        The hearing on the Government’s Motion to Show Cause is scheduled for Thursday, January

28, 2010 at 10:00 a.m., Richard Sheppard Arnold United States Courthouse, Courtroom #1C, 500

West Capitol, Little Rock, Arkansas, before Magistrate Judge J. Thomas Ray.

        A copy of his Order and the Motion to show Cause is to be served upon Defendant. The

United States Marshal is hereby directed to serve this Order upon the named Defendant without

prepayment of fees or costs or security therefor. If Defendant fails to appear in accordance with the

order, the Court will issue a warrant for her arrest.

        IT IS SO ORDERED, this 16th day of December, 2009.



                                               ________________________________________
                                               UNITED STATES MAGISTRATE JUDGE
